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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


G.H. et al,

              Plaintiffs,

v.                                            CASE NO. 4:19cv431-RH-MJF

JOSEFINA TAMAYO et al.,

              Defendants.

__________________________________/


               ORDER CERTIFYING A CLASS AND SUBCLASS


       This case presents a challenge to the Florida Department of Juvenile

Justice’s implementation of its policies governing solitary confinement of juvenile

offenders. The two named plaintiffs are children who were committed to the

Department’s custody and repeatedly placed in solitary confinement. They have

moved to represent a class of children who are or will be placed in solitary

confinement and to represent a subclass of such children who have disabilities as

defined in the Americans with Disabilities Act. This order certifies the class and

subclass.




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   I. The Parties

       The plaintiff GH is a boy, age 15, who has been diagnosed with attention

deficit hyperactivity disorder, mood disorder, and post-traumatic stress disorder.

The defendant RL is a girl, age 15, who has been diagnosed with bipolar disorder,

post-traumatic stress disorder, major depressive disorder, conduct disorder, and

intermittent explosive and shizoaffective disorder. Both plaintiffs have been placed

in detention centers and, while there, repeatedly placed in solitary confinement.

The plaintiffs assert staff and mental-health professionals were inattentive during

their periods of solitary confinement and that they attempted self-destructive

behaviors. RL says there was “old feces” on the wall during one of her periods of

solitary confinement.

       The defendants are the Department and its acting secretary in her official

capacity. For convenience, when discussing the litigation or the defense positions,

this order often refers to the Department, without also referring to the acting

secretary.

   II. The Merits and the Motion

       On the merits, the plaintiffs assert the Department places children in solitary

confinement unnecessarily, including for minor transgressions that could best be

handled in other ways, and that the conditions of solitary confinement are

unconstitutionally harsh. The plaintiffs say that in placing children with disabilities

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in confinement, the Department fails to take account of—and thus fails to

reasonably accommodate—their disabilities.

       The Department mischaracterizes the plaintiffs’ position as an attack on all

solitary confinement—an attack that, if advanced at all, is not a fair description of

the plaintiffs’ overall position.

       In any event, the issue now before the court is not whether the plaintiffs will

prevail on the merits but whether a class and subclass should be certified. On the

certification issue, the Department meets itself going and coming, first asserting

that its solitary-confinement policy complies with prevailing professional standards

and is constitutional across the board, but then asserting, in effect, that it has no

across-the-board policy and that instead any placement of a child in solitary

confinement is an ad hoc decision based on the child’s individual circumstances.

       The Department argues with considerable force that solitary confinement is

not per se unconstitutional. Surely sometimes, for some period, under some

conditions, a child who presents a risk to others can be held in isolation. Just as

surely, though, solitary confinement is not per se constitutional in all circumstances

and under all conditions. Used without a sufficient basis, or under unjustifiably

harsh conditions, solitary confinement can be unconstitutional. Thus, for example,

the Department has offered no explanation for placing a child in solitary

confinement with old feces on the wall.

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       Occasional, unconstitutional departures from constitutionally acceptable

policies do not a class action make. One hopes that feces on the wall is an example.

But a defendant’s pattern of unconstitutional actions is not immune from class

treatment just because the defendant ostensibly has in place a policy that, if

followed, would pass constitutional muster. Were it otherwise, the defendants, not

the plaintiffs, would have prevailed in the school cases and other class actions

challenging racial discrimination in the 1960s and 1970s—cases that brought about

the desegregation of the South and were perhaps this circuit’s jurisdictional

predecessor’s finest hour.

       The Department’s effort to recharacterize the plaintiffs’ position on the

merits falls short and, in any event, has only limited significance for class

certification. Indeed, if this case in fact presented only a per se attack on all solitary

confinement, the plaintiffs would easily prevail on class certification—only to lose

on the merits.

   III. Class Certification

       Before certifying a class, a court must conduct a “rigorous analysis” under

Federal Rule of Civil Procedure 23. See, e.g., Vega v. T-Mobile USA, Inc., 564

F.3d 1256, 1266 (11th Cir. 2009). “Frequently that ‘rigorous analysis’ will entail

some overlap with the merits of the plaintiff’s underlying claim. That cannot be

helped.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011) (quoting Gen.

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Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982)). But the rule “grants court no

license to engage in free-ranging merits inquiries at the certification stage.” Amgen

Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013). The factual

record, as opposed to “sheer speculation,” must demonstrate that each Rule 23

requirement has been met. Vega, 564 F.3d at 1267. The class must satisfy all the

requirements of Rule 23(a) and at least one of the requirements of Rule 23(b). See,

e.g., Jackson v. Motel 6 Multipurpose, Inc., 130 F.3d 999, 1005 (11th Cir. 1997).

       The plaintiffs, as the parties seeking to certify a class, have the burden to

show the Rule 23 prerequisites. Vega, 564 F.3d at 1265. This means the plaintiffs

must establish all four Rule 23(a) elements, commonly referred to as “numerosity,

commonality, typicality, and adequacy of representation.” Babineau v. Fed.

Express Corp., 576 F.3d 1183, 1190 (11th Cir. 2009) (quoting Valley Drug Co. v.

Geneva Pharm., Inc., 350 F.3d 1181, 1187-88 (11th Cir. 2003)).

       The plaintiffs also must establish at least one of the 23(b) elements. Here the

plaintiffs invoke the 23(b)(2) element: “the party opposing the class has acted or

refused to act on grounds that apply generally to the class, so that final injunctive

relief or corresponding declaratory relief is appropriate respecting the class as a

whole.”




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       The Department apparently asserts the plaintiffs must also show that a class

action is necessary—that, as a practical matter, the same result could not be

achieved by a named plaintiff’s individual action.

       This order addresses each of these matters in turn.

       A. Rule 23(a)

          1. Numerosity

       A class must be “so numerous that joinder of all members is impracticable.”

Fed. R. Civ. P. 23(a)(1). “[W]hile there is no fixed numerosity rule, ‘generally less

than twenty-one is inadequate, more than forty adequate, with numbers between

varying according to other factors.” Cox v. Am. Cast Iron Pipe Co., 784 F.2d 1546,

1553 (11th Cir. 1986). “[A] plaintiff need not show the precise number of members

in the class.” Evans v. U.S. Pipe & Foundry Co., 696 F.2d 925, 930 (11th Cir.

1983).

       The Department’s own data show that it placed between 2,720 and 3,853

children in solitary confinement each year from 2014 to 2020. This is easily

enough. Joinder of this many individuals is impracticable even for a static class—a

class whose members are fixed and unchanging. Joinder is all the more

impracticable when, as here, the class is fluid, when “the juveniles may by law be

incarcerated for varying lengths of time, the [detention] population is constantly in

flux, and the proposed class includes future members whose identities are

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unknown.” Hughes v. Judd, No. 8:12-CV-568-T-23MAP, 2013WL 1821077, at

*22 (M.D. Fla. Mar. 27, 2013).

       To be sure, the plaintiffs have not proven that all—or even any—of these

individuals were unconstitutionally placed in solitary confinement. But parties

seeking class certification need not establish at the outset that they will ultimately

prevail on the merits. It is enough that the plaintiffs have a substantial claim that

the Department’s custom, if not its ostensible policy, is to place children in

isolation unnecessarily and to subject them to unconstitutional conditions. If the

plaintiffs’ view of constitutional law ultimately wins out—it might or might not—

the Department’s method for deciding whether to place a child in solitary

confinement will change for all these thousands of children, as will the conditions

of their confinement.

       The same is true for the many children with disabilities who are placed in

solitary confinement. The plaintiffs of course have not shown the precise number

of children in Department facilities who have disabilities as defined in the

Americans with Disabilities Act. But the Department itself has said that “[o]ver

65% of the youth in the Department’s care have a mental illness or substance abuse

issue.” ECF No. 114 at 21 n.20. The Department would not have said it that way if

all or even a substantial majority of those children had only a substance-abuse

issue. And while some children who are in Department facilities and have mental

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illnesses may not meet the ADA’s disability definition, most surely do. There is no

realistic possibility—none—that of the thousands of children placed in solitary

confinement each year, fewer than 40 have disabilities.

       The plaintiffs’ discovery requests addressing this issue apparently remain

outstanding. If it turns out, when the Department provides the relevant information,

that the inference reasonably drawn from the current record is incorrect—that the

number of children with disabilities placed in solitary confinement is insufficient to

support class treatment—the subclass can be decertified. That is unlikely.

          2. Commonality

       Commonality means “there are questions of law or fact common to the

class.” Fed. R. Civ. P. 23(a)(2). The action “must involve issues that are

susceptible to class-wide proof.” Murray v. Auslander, 244 F.3d 807, 811 (11th

Cir. 2001). A common issue must be “capable of classwide resolution” such that

“determination of its truth or falsity will resolve an issue that is central to the

validity of each one of the claims in one stroke.” Dukes, 564 U.S. at 350. “What

matters to class certification . . . is not the raising of common questions—even in

droves—but, rather the capacity of a class-wide proceeding to generate common

answers apt to drive the resolution of the litigation.” Dukes, 564 U.S. at 350

(emphasis in original) (quoting Richard A. Nagareda, Class Certification in the

Age of Aggregate Proof, 84 N.Y.U. L. Rev. 97, 132 (2009)).

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       The plaintiffs challenge practices that are consistently applied to children in

Department facilities across the state. It is undoubtedly true, as the Department

asserts, that children are placed in solitary confinement for different reasons and, if

properly placed there at all, can properly be kept there for different periods. But the

plaintiffs challenge the Department’s standard for placing children in solitary, not

just the standard’s application to each individual. The plaintiffs say the standard

itself is flawed. This is a contention that raises common issues and can be

answered one way or the other for the class as a whole.

       The plaintiffs also challenge the conditions of solitary confinement—

conditions that are quite consistent statewide. The plaintiffs describe the

challenged conditions this way:

       a lack of environmental stimulation; lack of normal human contact; no
       access to recreation and exercise; inadequate sanitation; leaving
       children in locked cells for hours or days with nothing to do; only
       briefly allowing children out of solitary confinement for a few
       minutes each day to shower; requiring children to eat all their meals
       alone in their cells next to a toilet; removal of personal property; no
       school instruction; and only requiring mental health services after 42-
       hours in isolation.

ECF No. 114 at 25. The question whether requiring a child to eat next to a toilet is

unconstitutional is a common question that can be answered one way or the other

for the entire class—the very paradigm of a common question. The same is true for

some of the other questions.



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       The Department does not deny that most of these conditions are the same for

all the proposed class members. But the Department says the challenged conditions

are not unconstitutional—in effect, that a class should not be certified because the

plaintiffs will lose on the merits. For the assertion that the challenged conditions

are not unconstitutional, the Department relies primarily on cases involving adult

facilities, including some that were properly litigated as class actions.

       One of the plaintiffs’ primary contentions is that children are different, in

part because their brains are still developing and thus more susceptible to the

adverse effects of isolation. This is again a common issue appropriate for class

treatment.

       The disability subclass also involves common questions of law and fact.

Among other things, the plaintiffs challenge the Department’s failure to have in

place a system for accommodating disabilities of children placed in solitary

confinement. The Department has not separately addressed commonality for the

subclass.

       In sum, the case presents common questions of law and fact—questions

susceptible to common answers in a properly managed class action.

            3. Typicality

       The typicality element requires that “the claims or defenses of the

representative parties are typical of the claims or defenses of the class.” Fed. R.

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Civ. P. 23(a)(3). The plaintiffs must “possess the same interest and suffer the same

injury as the class members.” Dukes, 564 U.S. at 348-49 (quoting E. Tex. Motor

Freight Sys., Inc. v. Rodriguez, 431 U.S. 395, 403 (1977)).

       The plaintiffs have met this requirement. They were placed repeatedly in

solitary confinement, and they have disabilities. Their claims and those of the class

and subclass members arise from the same practices and seek the same remedies.

The defendants say the plaintiffs’ claims are not typical because they were placed

in solitary confinement for legitimate reasons and for short periods. But this again

misunderstands the plaintiffs’ claim. The plaintiffs challenge the process for

placing individuals in solitary confinement and the conditions of confinement once

there. The challenged process and conditions were the same for the plaintiffs as for

the class members.

          4. Adequacy of representation

       The final Rule 23(a) requirement is that the named plaintiffs “will fairly and

adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). This

encompasses two separate inquiries: whether any substantial conflict of interest

exists between the named plaintiffs and the class, and whether the named plaintiffs

will adequately prosecute the action. See, e.g., Valley Drug Co. v. Geneva Pharm.,

Inc., 350 F.3d 1181, 1189 (11th Cir. 2003).




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       The plaintiffs have again met this requirement. No conflict is evident

between the named plaintiffs and the class members; they all have the same

interest in a constitutionally acceptable process for determining whether to place a

child in solitary confinement and in avoiding unconstitutional conditions when

there. The Department says other children in Department facilities have an interest

in placing dangerous children in solitary, but nobody has an interest in placing the

wrong children in solitary or in imposing unconstitutional conditions on those who

are there. And the possibility that class members’ interests may conflict with the

interests of individuals who are not class members is not part of the adequacy

analysis.

       The plaintiffs are represented by attorneys with substantial experience in

civil rights and prisoner litigation and in complex class actions. The plaintiffs and

their attorneys will adequately represent the class.

       B. Rule 23(b)

       Rule 23(b)(2) allows a class action when “the party opposing the class has

acted or refused to act on grounds that apply generally to the class, so that final

injunctive relief or corresponding declaratory relief is appropriate respecting the

class as a whole.” Here the plaintiffs seek only injunctive and corresponding

declaratory relief. This is the very paradigm of a proper 23(b)(2) class.




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       C. Necessity

       The Department says a class action can go forward only if necessary—only

if an individual action could not, as a practical matter, produce the requested relief.

The assertion fails on both the law and the facts.

       Rule 23 does not refer to necessity. Even so, class treatment adds a layer of

complexity to any litigation. This order assumes that when class treatment would

serve no purpose, a court can properly choose not to certify a class. See, e.g.,

United Farmworkers of Fla. Hous. Project, Inc. v. City of Delray Beach, 493 F.2d

799, 812 (5th Cir. 1974). This does not mean, though, that a class can be certified

only if necessary.

       Under Rule 23(b)(3), which is not involved in this case, a class can be

certified only when a class action “is superior to other available methods for fairly

and efficiently adjudicating the controversy.” If necessity were a class-action

prerequisite, this provision would be superfluous, because a class could be certified

only if there was no other available method for fairly and efficiently adjudicating

the controversy. This counsels against imposing necessity as a non-rule

prerequisite to certification. See, e.g., Antonin Scalia & Bryan A. Garner, Reading

Law: The Interpretation of Legal Texts 174-79 (2012) (discussing the surplusage

canon).




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       More importantly, the Department’s position on necessity, if adopted, would

render Rule 23(b)(2) a dead letter. This is so because in every case otherwise

appropriate for class certification under Rule 23(b)(2), the defendant could

announce its willingness to abide any injunction that might later be entered, thus

purportedly rendering class treatment unnecessary. The assertion would be as

persuasive in any such case as in the case at bar—making class certification, in the

Department’s view, improper. That is simply not the law.

       In any event, even if necessity was a prerequisite to class certification, it

would make no difference here. An individual action could not, as a practical

matter, produce the result the plaintiffs hope to obtain for themselves and the class.

In actions challenging state action as unconstitutional, Florida officials have

asserted more than once that an injunction entered by a district court in favor of the

individual plaintiffs runs in favor only of the individual plaintiffs—that the

officials remain free, in dealing with others, to continue the conduct held

unconstitutional. With this history, it is by no means certain that the Department

would promptly recognize and follow, in its treatment of others, any order entered

in favor of the individual plaintiffs in this action.

       In sum, a district court might have discretion to deny certification when class

treatment is unnecessary. Here, though, class treatment is not unnecessary, and in

any event, the better exercise of any such discretion is to certify a class.

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   IV. Conclusion

       For these reasons,

       IT IS ORDERED:

       1. The motion to certify a class and subclass, ECF Nos. 111 and 114, is

granted.

       2. A class is certified consisting of children who are or will be in solitary

confinement in a Florida Department of Juvenile Justice detention facility.

       3. A subclass is certified consisting of children who are or will be in solitary

confinement in a Florida Department of Juvenile Justice detention facility who

have disabilities as defined in the Americans with Disabilities Act.

       4. The named plaintiffs GH and RL are class representatives.

       5. The plaintiffs’ current attorneys of record are class counsel.

       SO ORDERED on October 22, 2021.

                                         s/Robert L. Hinkle
                                         United States District Judge




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